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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                             Criminal Case No.
                            Complainant,
             v.
                                                             1:21-cr-28-8-APM
KELLY MEGGS

(Styled as USA v. Thomas Edward Caldwell                    Assigned to the Honorable
incorporating cases against multiple Defendants)            Amit Mehta, District
                                                            Court Judge
                            Defendant



       DEFENDANT’S KELLY MEGG’S REPLY MEMORANDUM OF POINTS AND
                    AUTHORITIES IN FURTHER SUPPORT OF
      ISSUANCE OF A SUBPOENA DUCES TECUM TO THE U.S. CAPITOL POLICE


        Comes now Defendant, Kelly Meggs, by counsel, and provides this Reply Memorandum

of Points And Authorities in Further Support of his Motion for Issuance of a Subpoena Duces

Tecum to the U.S. Capitol Police (ECF Nos. 500, 501) and for his grounds states as follows.

I.      INTRODUCTION

        Actually, the Government’s Opposition strongly supports and justifies Kelly Meggs’

request for a subpoena to the USCP. However, the issue is confused:

        You don’t investigate because you already know the information. You investigate to find

out the information. On the other hand, one does not investigate without a reasonable basis for

believing there might be something there to find. Meggs has shown this is sufficiently likely.

II.     LEGAL STANDARD

        The question is whether a subpoena must issue because there is a need to actually see the

documents that will show whether or not these Defendants had any responsibility for the recess

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of the Joint Session of Congress on January 6, 2021. As the government has set forth, ‘the

Supreme Court in Nixon; according to the Supreme Court, the party seeking to enforce a

subpoena must demonstrate:

       (1) that the documents are evidentiary and relevant;
       (2) that they are not otherwise procurable reasonably in advance of trial by
       exercise of due diligence;
       (3) that the party cannot properly prepare for trial without such production and
       inspection in advance of trial and that the failure to obtain such inspection may
       tend unreasonably to delay the trial; and
       (4) that the application is made in good faith and is not intended as a “fishing
       expedition.”

418 U.S. at 699-700. The District of Columbia Circuit has set forth the standard based on Nixon:

       Admittedly, it will often be difficult at the pretrial stage to determine with
       precision the admissibility of certain documents; therefore, if a document is
       arguably relevant and admissible under the Rules of Evidence, the Nixon
       "evidentiary" requirement is likely satisfied.
       In addition to seeking documents that are both relevant and admissible, a Rule
       17(c) subpoena must also be specific. Although the Supreme Court in Nixon
       requires that a party issuing a Rule 17(c) subpoena identify with specificity the
       documents being sought, the Court recognized that in some instances it may be
       impossible to "describe fully" the documents; therefore, the Court concluded that
       the specificity requirement could be satisfied if there is a "sufficient likelihood,"
       demonstrated through rational inferences, that the documents being sought
       contain relevant and admissible evidence..


United States v. Libby, 432 F. Supp. 2d 26, 31, (D.C. Cir. 2006) (citing Nixon, 418 U.S. at 700)

(further internal citations omitted).

       Defendant Kelly Meggs has – and continues here – to show that there is a sufficient

likelihood that the requested documents and information are relevant to possible dismissal of the

charges whether at trial or before trial, which makes the documents clearly relevant, not


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reasonably procurable otherwise, and the undersigned makes this request in good faith.

       But the question at hand is whether the likelihood is sufficient that the demanded

documents and information could contain – or lead to – exculpatory evidence. “If a defendant is

aware of specific information contained in the file (e. g., the medical report), he is free to request

it directly from the court, and argue in favor of its materiality. Moreover, the duty to disclose is

ongoing; information that may be deemed immaterial upon original examination may become

important as the proceedings progress, and the court would be obligated to release information

material to the fairness of the trial.” Pa. v. Ritchie, 480 U.S. 39, 60, 107 S. Ct. 989, 1003, 94 L.

Ed. 2d 40, 59, (1987).

       The scope of Brady is very broad. See United States Justice Manual (USJMM) § 9-

5.001. For instance, a “prosecutor must disclose information that is inconsistent with any

element of any crime charged” and:

                  must disclose information that either casts a substantial
                  doubt upon the accuracy of any evidence---including but not
                  limited to witness testimony—the prosecutor intends to rely
                  on to prove an element of any crime charged, or might have
                  a significant bearing on the admissibility of the evidence.
                  This information must be disclosed regardless of whether it
                  is likely to make the difference between convictions and
                  acquittal of the defendant for a charged crime.

Id.
       The disclosure requirement, “applies to information regardless of whether the

information subject to disclosure would itself constitute admissible evidence.” Id.

       The question at hand is also whether the demanded documents and evidence are material:

Could the demanded documents and information change a guilty verdict into an acquittal? Here,

the charges only speculate that the Defendant, singing the National Anthem on the Capitol steps

around 2:35 PM, caused the disruption of the Joint Session of Congress on January 6, 2021, at



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2:18 PM, or even if the court accepts the Government’s Opposition’s additional facts that recess

occurred,     “…—Senator Grassley at 2:13 p.m. in the Senate chamber and Representative

McGovern at 2:29 p.m. in the House.” (ECF 538, p.6 (citing chamber, see 167 Cong. Rec. S18,

H85 (daily ed. Jan. 6, 2021)—declared the respective Houses in recess subject to the call of the

chair.)

          The government’s argument makes it even more highly improbable that there will be any

documents about the Defendant causing or seeking to disrupt the official proceeding of the Joint

Session of Congress. Instead it highlights the relevance of the information.

          Somehow, The Politico (see Exhibits A and B ) and CNN (see Exhibit C and D) have

publicly released privileged legal memoranda from attorneys Jenna Ellis, Jay Sekulow, and John

Eastman advising Donald Trump’s senior team on the Trump team’s strategy for the Joint

Session of Congress.1      All of those strategy memoranda make clear that Trump needed the

Joint Session of Congress to be held and carried through to its conclusion – but following his

plan.

          There is no actual evidence that anyone (relevant to this prosecution) wanted to stop the

certification of the Electoral College votes – although the documents demanded will speak for

themselves. Many wanted to demand that the Joint Session count the votes as they believed it

should be done. But that is different. In any event, the documents will show what they show.

          Therefore, there is a sufficient likelihood that that the demanded documents will prove

that Kelly Meggs is innocent of Counts I and II.

          This does not mean that Kelly Meggs is arguing certainty of what the documents say, but


1
         The Congress is the U.S. Attorney’s Office’s client. While prosecutors always act on behalf
generally of the rule of law, they usually also have an actual complaining victim. Here, this prosecution
concerns charges of offenses against the U.S. Congress and the USCP. When the clamor of the political
class is presented here through the U.S. Attorney, it must rise to standards of evidence and fact.
                                                    4
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has laid a sufficient foundation as to why the documents must be produced.




III.   STATEMENT OF FACTS

       On September 17, 2021, a new Chief of the USCP, Thomas Manger, as one of the

government entities bringing the complaint against these Defendants in this case, admitted and

confessed among other things, at time stamp 00:18:10:

                 “In terms of how we engage, we handle multiple
                 demonstrations at the Capitol and Supreme Court every
                 day. Every day. Multiple demonstrations.”

“USCP News Conference on "Justice for J6" Rally” was recorded and broadcast live by C-
SPAN, and is permanently recorded for viewing at: https://www.c-span.org/video/?514736-1/us-
capitol-police-prepare-threats-violence-justice-j6-rally

        And again at time stamp 00:20:09 --

                 “We have multiple demonstrations every day.”

       Again, these are the statements – admissions and confessions as admissible evidence – of

one of the two complaining victims agencies whose interest the prosecution is vindicating.

These are not the comments of random observers, but actual admissions and confessions.

       Thus, the mere existence of demonstrations or the presence of demonstrators did not

obstruct any official proceeding, according to the new head of the complaining witness agency.

       However, the documents demanded will illuminate that more precisely and thoroughly.

Did the mere existence of demonstrators milling about outside the Capitol on grounds when the

USCP issued six (6) permits for demonstrations at nearby locations on the same side of the U.S.

Capitol on January 6, 2021, disrupt the Joint Session of Congress?

       I don’t know. We’ll find out.

       I’m betting no. But we need to find out.
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       The Opposition attempts to portray the documents demanded as tangential, of little

importance, or “a fishing expedition.”

       On the contrary, the Joint Session of Congress recessed when the USCP officially

advised the presiding officer at or just before 2:18 PM that the House should recess pursuant to

Rule I, Clause 12(b) which empowers the presiding officer to immediately recess without a vote

when there is a threat to the House.2 A similar event transpired in the U.S. Senate chamber.

(The Joint Session had just split to fulfill the actual duties of the Joint Session to hear and

resolve disputed Electoral College votes, after an objection to Arizona’s Electors.)

       Thus, the triggering event for the recess of the Joint Session was the recommendation

from the USCP. “WHY did they recess the Joint Session?” goes to the core of this prosecution.

       Kelly Meggs contends that he did not do anything which in any way disrupted the Joint

Session of Congress, could have disrupted it, was any sort of attempt to disrupt it, ever planned

to disrupt the Joint Session, ever agreed with anyone about disrupting it, or aided and abetted

anyone in disrupting the Joint Session of Congress.

       If the USCP is sitting on documents proving Kelly Meggs’ defense, then the failure to

produce them would require the dismissal of this case or vacating any conviction.

       The Court should understand that the Government has offered no concept of how

peaceful Defendants singing the National Anthem at 2:35 PM could be capable of disrupting the

session earlier at 2:18 PM.

       But, in addition, the analysis, discussion, communications, and evaluation within the

USCP of whether or not to recommend a recess to the Joint Session will also speak to the

allegations that these Defendants aided and abetted, conspired to, or attempted to obstruct an
2
        See, “Counting Electoral Votes--Joint Session Of The House And Senate Held Pursuant To The
Provisions Of Senate Concurrent Resolution 1,” Congressional Record Vol. 167, No. 4, (House of
Representatives - January 06, 2021).

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official proceeding. Discussions within the USCP as to WHY they recommended a recess would

illuminate whether it had anything to do with the Oath Keeper Defendants here (even if they are

not specifically named) aiding and abetting, attempting, or conspiring to obstruct the official

proceeding.

       Further, if the USCP told Congress to recess at 2:18 PM – in person in the well of the

Chambers – the cause must have been significantly earlier than 2:18 PM, probably before 2:00

PM. These documents would show when the threat was identified and when the threat matured

to requiring a recess. These documents would illuminate that any problem occurred long before

these Defendants were singing the National Anthem on the Capitol steps around 2:35 PM.

       Kelly Meggs is accused in Counts I and II of the indictment, now repeated as the Sixth

Superseding Indictment (“SSI”), with disrupting the Joint Session of Congress on January 6,

2021, by some mysterious, unexplained magical methods, as are other Defendants in this case.

(SSI ¶ 36 as to Count I) and (SSI ¶ 180 as to Count II) .

       The Grand Jury repeatedly indicted and re-indicted Kelly Meggs for:

       Count I – Conspiracy under 18 U.S.C. 371 (SSI ¶ 36) for the conspiratorial purpose of

“The purpose of the conspiracy was to stop, delay, and hinder the Certification of the Electoral

College vote.” (SSI ¶ 38). That is, the conspiracy alleged is to violate 18 U.S.C. 1512(c)(2).

       Count II – Violating 18 U.S.C. 1512(c)(2) alleging he "attempted to, and did, corruptly

obstruct, influence and impede an official proceeding, that is the Certification of the Electoral

College vote, and did aid and abet others known and unknown to do the same." (SSI ¶ 180)

       Thus both Count I and II concern allegedly disrupting the Joint Session of Congress.

Unlike some other cases which include more than one alleged purpose of a conspiracy, in USA v.

Caldwell, Count I is exclusively about the same statute charged in Count II.



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        So the two big counts here both depend upon the documents demanded in this subpoena.

        The Grand Jury alleges that after the Joint Session of Congress had already recessed at

2:18 PM, at 2:24 PM “Person One” told Kelly Meggs to “Go to SOUTH side of U.S. Capitol”

and Person One then followed with a message “That’s where I am going              To link up with

[PERSON TEN.]” (SSI ¶ 132).

        The Grand Jury alleges that after the Joint Session of Congress had already recessed at

2:18 PM, at 2:25 PM Person One forwarded Person Ten’s message but Person One also

instructed the Oath Keepers “Come to South Side of Capitol on steps” along with a photograph

showing the location where he instructed Oath Keepers to go. (SSI ¶ 133).

        The Grand Jury alleges that after the Joint Session of Congress had already recessed at

2:18 PM, at 2:26 PM Oath Keepers including Kelly Meggs and his wife “continued walking

northbound along the exterior of the Capitol. They then turned right and entered the plaza in

front of the east side of the Capitol.” 3 (SSI ¶ 134). Of course, the U.S. Capitol is 751 feet long.
4
    So it would take several minutes for those walking northbound to reach “the plaza” which is

presumably in the center of the driveway of the U.S. Capitol on the East side, consisting of the

vehicle driveway (but there is a giant park between the East face of the U.S. Capitol and 2nd

Street SE and NE), particularly to wade through crowds of other, unrelated people.

        The Grand Jury alleges that after the Joint Session of Congress had already recessed at

2:18 PM, at 2:33 PM other Oath Keepers arrived at the Capitol area by golf carts. (SSI ¶ 138).

That is, they were nowhere near the Capitol until around 2:33 PM.



3
       “Plaza” is poorly defined given the vast size of the Capitol Grounds, measuring 126
acres. Architect of the Capitol, https://www.aoc.gov/explore-capitol-campus/buildings-
grounds/capitol-building
4
       Architect of the Capitol, https://www.aoc.gov/explore-capitol-campus/buildings-
grounds/capitol-building
                                                 8
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       The Grand Jury alleges that after the Joint Session of Congress had already recessed at

2:18 PM, at 2:35 PM Oath Keepers including Kelly Meggs and his wife maneuvered up the

steps on the east side of the Capitol—each member keeping one hand on the shoulder of the

other in front of them.

IV.    CONSULTATION AND NARROWING OF THE REQUEST

       After the last status hearing, the Government and Kelly Meggs, by counsel, consulted as

the Court directed. See Exhibits E and F. Kelly Meggs requested in writing:


       a) Not everything about pipe bombs is necessary, such as the status of the investigation,
          leads, after January 6, 2021, etc. That would be interesting but not relevant to the
          defense of these Defendants like Kelly Meggs.

       b) However, anything about the threat or perceived threat between 12:50 PM and 2:40
          PM from the discovery of pipe bombs is not just requested but obligatory as
          production. I don’t want a non-obligatory accommodation.

       c) Any and all documents, communications, reports, letters, text messages, emails, or
          other records relating to, discussing or reporting on whether or not the Joint Session
          of Congress and/or the House of Representatives or U.S. Senate separately, on
          January 6, 2021, should recess.

       d) Any and all documents, communications, reports, letters, text messages, emails, or
          other records relating to, discussing or reporting on the USCP officially advising
          Members of Congress to evacuate the U.S. Capitol building on January 6, 2021.1

       e) Any and all documents, communications, reports, letters, text messages, emails, or
          other records relating to, discussing or reporting the reasons why the Joint Session of
          Congress should (if written beforehand) or did (if written after the fact) recess on
          January 6, 2021.

This is a reduced list from Kelly Meggs’ original motion in an effort to confer, in addition to

follow up emails requesting the information.

V.     ARGUMENT

       A. DISCLOSURE OF POTENTIALLY EXCULPATORY IS
          MANDATORY, ON PAIN OF DISMISSAL OF THE CASE

       This is a core, gold standard, top shelf, pure incidence of a requirement for the production
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of exculpatory information. The documents are all but certain to be exculpatory. Documents or

information exclusively within the possession of the U.S. Government must be disclosed if it is

likely to contain or lead to the discovery of (including identifying witnesses):

                 i)     Evidence of actual innocence of the charges

                 ii)    Evidence of an alternative explanation or cause or otherwise raising
                        reasonable doubt on the standard of a defendant is presumed innocent until
                        proven guilty beyond a reasonable doubt.

                 iii)   Evidence that a defendant might be guilty of a lesser offense only

                 iv)    Evidence of an affirmative defense

                 v)     Evidence of the credibility of prosecution witnesses on impeachment

                 vi)    Mitigating factors arguing for imposition of a lesser sentence

        It is highly relevant that the Defendant is explicitly asking for specific information, not

passively hoping that the prosecution will notice and think to disclose information on its own

initiative.

              "The test of materiality in a case like Brady in which specific
              information has been requested by the defense is not necessarily the
              same as in a case in which no such request has been made. 14..."

United States v. Agurs, 427 U.S. 97, 106, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976)

               The heart of the holding in Brady is the prosecution's suppression of
              evidence, in the face of a defense production request, where the evidence
              is favorable to the accused and is material either to guilt or to
              punishment. Important, then, are (a) suppression by the prosecution after
              a request by the defense, (b) the evidence's favor-able character for the
              defense, and (c) the materiality of the evidence. * * *

Moore v. Illinois 8212 5001, 408 U.S. 786,794-795, 92 S.Ct. 2562, 33 L.Ed.2d 706 (1972)

              If there is a duty to respond to a general request of that kind, it must
              derive from the obviously exculpatory character of certain evidence in
              the hands of the prosecutor. But if the evidence is so clearly supportive
              of a claim of innocence that it gives the prosecution notice of a duty to
              produce, that duty should equally arise even if no request is made.
              Whether we focus on the desirability of a precise definition of the

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            prosecutor's duty or on the potential harm to the defendant, we conclude
            that there is no significant difference between cases in which there has
            been merely a general request for exculpatory matter and cases, like the
            one we must now decide, in which there has been no request at all. The
            third situation in which the Brady rule arguably applies, typified by this
            case, therefore embraces the case in which only a general request for
            "Brady material" has been made.

United States v. Agurs, 427 U.S. 97, 107, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976)

            The proper standard of materiality must reflect our overriding concern
            with the justice of the finding of guilt.20 Such a finding is permissible
            only if supported by evidence establishing guilt beyond a reasonable
            doubt. It necessarily follows that if the omitted evidence creates a
            reasonable doubt that did not otherwise exist, constitutional error has
            been committed.

Id. at 112. To extend this point, the U.S. Supreme Court is saying that the requirement that an

accused be presumed innocent until proven guilty beyond a reasonable doubt is a principle that

applies to all aspects of the case, including whether a failure to disclose potentially exculpatory

information violates the Due Process Clause.

            Impeachment evidence, however, as well as exculpatory evidence, falls
            within the Brady rule. See Giglio v. United States, 405 U.S. 150, 154, 92
            S.Ct. 763, 766, 31 L.Ed.2d 104 (1972). Such evidence is "evidence
            favorable to an accused," Brady, 373 U.S., at 87, 83 S.Ct., at 1196, so
            that, if disclosed and used effectively, it may make the difference
            between conviction and acquittal. Cf. Napue v. Illinois, 360 U.S. 264,
            269, 79 S.Ct. 1173 1177, 3 L.Ed.2d 1217 (1959) ("The jury's estimate of
            the truthfulness and reliability of a given witness may well be
            determinative of guilt or innocence, and it is upon such subtle factors as
            the possible interest of the witness in testifying falsely that a defendant's
            life or liberty may depend").

United States v. Bagley, 473 U.S. 667, 87 L.Ed.2d 481, 105 S.Ct. 3375 (1985).


       B. GOVERNMENT RECOGNIZES THE RELEVANCE OF
          DEFENDANT’S REQUEST.

       The Government’s Opposition hopes to feed the Defendants more random videos and see

if people will go back to sleep –

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                   “We have offered to walk Defendant Meggs’s counsel
                   through the discovery and assist him in identifying this
                   footage among the discovery materials.1,”

                     (ECF 538 at p. 3). (Emphasis added.)

       Kelly Meggs is not interested in more “footage” (video).

       The government does not genuinely contest the specific basis supporting the relevance of

the request -- recognizing that both House and Senate, in addition to the Joint Conference,

recessed before Mr. Meggs was on the Steps of the Capitol, but instead attempts to shift the

argument to what other documents could exist from the Capitol Police.

                   “As seen on the official video feeds of the Senate’s and
                   House’s proceedings, Vice President Pence was still
                   presiding over the Senate chamber as of 2:10 p.m.

(ECF 538 at p. 4).

                   “Speaker Pelosi was still presiding over the House chamber
                   as of 2:14 p.m…”

(ECF 538 at p. 5).

                   The defense has not articulated, and we are not aware of,
                   what other documents or pieces of evidence would be in the
                   Capitol Police’s possession that would explain why the
                   presiding officers of the two chambers—Senator Grassley at
                   2:13 p.m. in the Senate chamber and Representative
                   McGovern at 2:29 p.m. in the House chamber, see 167 Cong.
                   Rec. S18, H85 (daily ed. Jan. 6, 2021)—declared the
                   respective Houses in recess subject to the call of the chair.

(ECF 538, p. 6).

       Again, that’s why we find out by asking for and looking at the actual documents.

       The subpoena seeks documents, communications, reports, alerts, emails, texts, etc. as to

why the USCP recommended a recess to the presiding officer.


       C. GOVERNMENT OPPOSITION DOES NOT UNDERSTAND

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           SUBPOENA GOES TO THE VERY CORE AND HEART

       For the USCP to officially invoke Rule I, Clause 12(b) at 2:18 PM to recess the House

and about the same time the Senate would require decision-making probably no later than 2:00

PM including the physical walk over to the well of the House and the Senate chambers.

       According to the indictment by the Grand Jury, these Defendants arrived on the Capitol

Steps, mostly close together, at around 2:35 PM, where they walked in a conga line and sang the

National Anthem. They did what school children, families, and rock concert or music festival

attendees do, putting one hand on their friend in front of them to avoid getting lost in the crowds.

They were of course unarmed.

       Thus, the documents sought by this subpoena could provide absolute proof that Kelly

Meggs did not obstruct, stop, hinder, attempt to obstruct, or aid and abet anyone else in

obstructing the Joint Session of Congress, when the USCP already decided prior to around 2:00

PM to recess the official proceeding due to the discovery of pipe bombs.

       Again, this is to lay a foundation that the documents are required.

       Yes, it is the responsibility of the prosecutors to dismiss this case based on what the

Grand Jury alleged as fatal self-contradiction within the indictment itself.

            For though the attorney for the sovereign must prosecute the accused
            with earnestness and vigor, he must always be faithful to his client's
            overriding interest that "justice shall be done." He is the servant of the
            law, the twofold aim of which is that guilt shall not escape or innocence
            suffer." Berger v. United States, 295 U.S. 78, 88, 55 S.Ct. 629, 633, 79
            L.Ed. 1314.

United States v. Agurs, 427 U.S. 97, 110-111, 49 L.Ed.2d 342, 96 S.Ct. 2392 (1976)

       But no, that is not what this motion is asking. The issue is whether there is a need for the

demanded documents and a reasonable basis for demanding them, whether they could be

exculpatory and material, whether they might change the outcome of the case, etc.

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       Count III -- Kelly Meggs is also charged with depredation of the Columbus Doors which

were already damaged before the Oath Keepers arrived in the area at around 2:35 PM. It would

be impossible for Kelly Meggs to aid and abet anyone in doing damage when someone had

already done the damage before the Oath Keepers reached the area. (SSI ¶ 182)

       Count X -- Kelly Meggs is also charged with deleting from his cellular phone “certain”

media, files, and communications that allegedly showed Kelly Meggs engaging in First

Amendment activity guaranteed by the protections of the U.S. Constitution (SSI ¶ 199-200).

       Counts I and II are the heart of the indictment against Kelly Meggs. The remaining two

counts are both smaller charges in terms of penalties and unprovable by the prosecution.

       This is not a “fishing expedition” as the Opposition complains, but the very core of the

case, at least with regard to Counts I and II of the now Sixth Superseding Indictment.

CONCLUSION

       Therefore Kelly Meggs is sufficiently likely to show that the evidence requested is

specifically identified, shown to be relevant and likely admissible because the basis for why and

when the USCP advised the two chambers to recess strikes at the core of counts against Mr.

Meggs, who is alleged to have “interfered” with the subject “proceeding.”

       This Requested Information strikes at the core of the allegations against this Defendant.

       The Opposition argues that the subpoena demanded would circumvent the on-going

discovery process.

       The Government is flooding defense counsel with useless and irrelevant material under

the show of complying with Brady v. Maryland, 373 U.S. 83 (1963).




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       Oceans of worthless material 5 not only do not comply with Brady but worse this flood is

actually harming the preparation of these Defendants for trial. The need to review thousands of

hours of useless material means that Defense counsel are not able to prepare for trial.

       The indiscriminate nature of disclosures is actually harmful to the Defendants’ trial

preparation. The limited time, budget, and energy of Defendants’ counsel is being drained.

       The Government is not, however, turning over exculpatory information in the exclusive

possession of the Government specifically identified and requested by Defendants’ counsel.

Brady obligations are at their peak and sharpest where Defendants’ counsel could not discover

exculpatory information, because the Government holds the only copy or copies. Here, the FBI

is raiding homes at dawn all across the country, thus taking the only copies of people’s

computers and smart phones.

       Where this counsel specifically identifies in Defense’ counsel’s analysis of the case what

is likely to be exculpatory, the analysis of Defendants’ counsel is politely ignored – or worse, as

here, resisted. Remember that the same U.S. Attorney’s Office is handling all of the same cases.

       For these reasons, Defendant requests the court approve and issue the subpoena and

direct that the USCP provide any responsive information to the requests. Production of these

documents must be understood as obligatory, not on the basis of the discretion of the

Government in deciding what they feel like providing.

Dated: December 13, 2021              RESPECTFULLY SUBMITTED
                                      KELLY MEGGS, By Counsel




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        Much of the flood of material may be relevant to someone – but not to the individual
Defendants receiving them. Video fragments, failing to show context before and after, of
unknown people at the Capitol take up lots of time and digital space but do not provide useful
information to the Defendants who are not shown in those video clips and often were nowhere
near the scenes shown in the video fragments.
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                                      USDCDC Bar No. VA005
                                      Virginia State Bar No. 41058
                                      Mailing address only:
                                      5765-F Burke Centre Parkway, PMB #337
                                      Burke, Virginia 22015
                                      Telephone: (703) 656-1230
                                      Contact@JonMoseley.com
                                      Moseley391@gmail.com

                                CERTIFICATE OF SERVICE

         I hereby certify that on December 13, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participants. From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia.

            Jeffrey S. Nestler
            U.S. ATTORNEY'S OFFICE
            555 Fourth Street NW
            Washington, DC 20530
            202-252-7277
            jeffrey.nestler@usdoj.gov

            Kathryn Leigh Rakoczy
            U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
            555 Fourth Street, NW
            Washington, DC 20530
            (202) 252-6928
            (202) 305-8537 (fax)
            kathryn.rakoczy@usdoj.gov

            Justin Todd Sher
            U.S. DEPARTMENT OF JUSTICE
            950 Pennsylvania Avenue NW
            Washington, DC 20530
            202-353-3909
            justin.sher@usdoj.gov


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   Troy A. Edwards, Jr
   U.S. ATTORNEY'S OFFICE FOR THE DISTRICT OF COLUMBIA
   555 4th Street, NW
   Washington, DC 20001
   202-252-7081
   troy.edwards@usdoj.gov

   Alexandra Stalimene Hughes
   DOJ-Nsd
   950 Pennsylvania Ave NW
   Washington DC, DC 20004
   202-353-0023
   Alexandra.Hughes@usdoj.gov

   Louis J. Manzo
   DOJ-CRM
   1400 New York Ave NW
   Washington, DC 20002
   202-616-2706
   louis.manzo@usdoj.gov

   Ahmed Muktadir Baset
   U.S. ATTORNEY'S OFFICE
   United States Attorney's Office for the District of Col
   555 Fourth Street, N.W., Room 4209
   Washington, DC 20530
   202-252-7097
   ahmed.baset@usdoj.gov




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